             Case 1:22-cv-00721-SDG Document 1 Filed 02/21/22 Page 1 of 9




                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

HOWARD COHAN

        Plaintiff,

v.
                                                  Case No.
SAAJ, LLC,
a Georgia limited liability company

        Defendant.


     PLAINTIFF’S COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

        Plaintiff Howard Cohan, through his undersigned counsel, states the following in

support of his Complaint for Declaratory and Injunctive Relief to remedy discrimination

by Defendant SAAJ, LLC based on Plaintiff’s disability in violation of Title III of the

Americans with Disabilities Act of 1990, 42 U.S.C. §§ 12181 et seq. (“ADA”), and its

implementing regulation, 28 C.F.R. Part 36:

                               JURISDICTION AND VENUE

        1.      This Court has jurisdiction over this action pursuant to 42 U.S.C. §

2000a-3(a), 28 U.S.C. § 1331, and 28 U.S.C. § 1343.

        2.      Venue is appropriate in this district under 28 U.S.C. § 1391 because the

acts of discrimination occurred in this district, and the property that is the subject of this

action is in this district.

                                         PARTIES




                                              1
            Case 1:22-cv-00721-SDG Document 1 Filed 02/21/22 Page 2 of 9




       3.      Plaintiff is a resident of Palm Beach County, Florida.

       4.      Defendant SAAJ, LLC is a limited liability company with its registered

office located at 1516 Shetland Pony Ct, Suwanee, GA, 30024.

       5.      Upon information and belief, Defendant SAAJ, LLC owns or operates

“Country Inn & Suites Alpharetta,” whose location qualifies as a “Facility” as defined in

28 C.F.R. § 36.104.

                                 FACTUAL ALLEGATIONS

       6.      Plaintiff incorporates the above paragraphs by reference.

       7.      Plaintiff is an individual with numerous disabilities, including severe spinal

stenosis of the lumbar spine with spondylolisthesis and right leg pain, severe spinal

stenosis of the cervical spine with nerve root compromise on the right side, a non-union

fracture of the left acromion, a labral tear of the left shoulder, a full thickness right rotator

cuff tear, a right knee medial meniscal tear, a repaired ACL and bilateral meniscal tear

of the left knee and severe basal joint arthritis of the left thumb. These conditions cause

sudden onsets of severe pain and substantially limit Plaintiff’s ability to perform certain

manual tasks, walk, stand, lift, bend, and work. The disabilities and symptoms are

permanent.

       8.      Plaintiff suffered from these disabilities during his initial visit (and prior to

instituting this action) to Country Inn & Suites Alpharetta.

       9.      Plaintiff’s disabilities are considered a qualified disability under 28 C.F.R.

36.105.




                                               2
          Case 1:22-cv-00721-SDG Document 1 Filed 02/21/22 Page 3 of 9




       10.      Plaintiff’s condition is degenerative and occasionally requires mobility aids

to assist his movement.

       11.      Plaintiff regularly travels to the Alpharetta, Georgia area to visit friends and

shop. Most recently, Plaintiff was in the Alpharetta, Georgia area in June 2021, and

plans to return to the area in February 2022.

       12.      Plaintiff stays at hotels when he is in the area.

       13.      Plaintiff does not always stay at the same hotel, but prefers to shop

around for the best prices, amenities, location, and ease of access to accommodate his

disabilities.

       14.      Plaintiff regularly experiences barriers to access relating to his disability at

hotels due to his frequent travels.

       15.      While many hotels advertise that they have accessible rooms or public

areas, Plaintiff still regularly encounters barriers to access.

       16.      This requires Plaintiff to visit hotels that offer the amenities, pricing, and

location he desires prior to booking a stay to ensure that he can access the Facility in a

manner equal to non-disabled individuals.

       17.      Despite advertising that the Country Inn & Suites Alpharetta is accessible,

Plaintiff encountered barriers to access at the Alpharetta Facility, which denied him full

and equal access and enjoyment of the services, goods, and amenities when he visited

on May 16, 2018 and June 9, 2021.




                                                3
          Case 1:22-cv-00721-SDG Document 1 Filed 02/21/22 Page 4 of 9




       18.     Plaintiff is currently deterred from considering the Facility as an option for

lodging on his future planned visits due to the barriers and discriminatory effects of

Defendant’s policies and procedures at the Facility.

       19.     Plaintiff is deterred from returning due to the barriers and discriminatory

effects of Defendant’s policies and procedures at the Facility.

       20.     Plaintiff returns to every Facility after being notified of remediation of the

discriminatory conditions to verify compliance with the ADA and regularly monitors the

status of remediation.

                              COUNT I
        REQUEST FOR DECLARATORY JUDGMENT UNDER 28 U.S.C. § 2201

       21.     Plaintiff incorporates the above paragraphs by reference.

       22.     This Court is empowered to issue a declaratory judgment regarding: (1)

Defendant’s violation of 42 U.S.C. § 12182; (2) Defendant’s duty to comply with the

provisions of 42 U.S.C. § 12181 et al; (3) Defendant’s duty to remove architectural

barriers at the Facility; and (4) Plaintiff’s right to be free from discrimination due to his

disability. 28 U.S.C. § 2201.

       23.     Plaintiff seeks an order declaring that he was discriminated against on the

basis of his disability.

                                COUNT II
         REQUEST FOR INJUNCTIVE RELIEF UNDER 42 U.S.C. § 2000a–3(a)

       24.     Plaintiff incorporates the above paragraphs by reference.




                                              4
         Case 1:22-cv-00721-SDG Document 1 Filed 02/21/22 Page 5 of 9




       25.      The Alpharetta Facility is a place of public accommodation covered by

Title III of the ADA because it is operated by a private entity, its operations affect

commerce, and it is a hotel. 42 U.S.C. § 12181(7); see 28 C.F.R. § 36.104.

       26.      Defendant is a public accommodation covered by Title III of the ADA

because it owns, leases (or leases to), or operates a place of public accommodation.

See 42 U.S.C. §§ 12181(7), 12182(a); 28 C.F.R. § 36.104.

       27.      Architectural barriers exist which deny Plaintiff full and equal access to the

goods and services Defendant offers to non-disabled individuals.

       28.      Plaintiff personally encountered architectural barriers on May 16, 2018

and June 9, 2021, at the Alpharetta Facility located at 3000 Mansell Rd, Alpharetta, GA

30022 that affected his disabilities:

             a. Passenger Drop Off:

                    i. Not providing a passenger loading zone with an access aisle

                       marked with striping as required by sections 209, 209.1, 209.4,

                       503, 503.1, 503.3 and 503.3.3 of the Standards, which causes

                       unnecessary strain on Plaintiff’s back, neck, and shoulder by

                       requiring him to park at a distance and walk that distance with the

                       extra weight of his luggage.

             b. Men’s Restroom:

                    i. Failing to provide the proper insulation or protection for plumbing or

                       other sharp or abrasive objects under a sink or countertop in




                                               5
Case 1:22-cv-00721-SDG Document 1 Filed 02/21/22 Page 6 of 9




         violation of sections 606 and 606.5 of the Standards, which

         prevents proper balance and causes Plaintiff difficulty when trying

         to reach under the sink.

      ii. Failing to provide grab bar(s) in violation of sections 604, 604.5,

         609, 609.4, 609.1, and 609.3 of the Standards, which prevents

         Plaintiff from using the grab bars for the assistance he needs

         getting onto and off of the toilet due to his back and knee injuries.

      iii. Failing to provide toilet paper dispensers in the proper positions in

         front of the water closet or at the correct height above the finished

         floor in violation of sections 604, 604.7, and 309.4 of the Standards,

         which causes unnecessary strain on his back and legs in order to

         reach the dispenser.

      iv. Failing to provide paper towel dispenser or its operable part at the

         correct height above the finished floor in violation of sections 606,

         606.1 and 308 of the Standards, which causes unnecessary strain

         on Plaintiff’s back and shoulder injuries because the dispenser is

         not at the proper height.

      v. Failing to provide the water closet in the required proper position

         relative to the side wall or partition in violation of sections 604 and

         604.2 of the Standards, which prevents Plaintiff from using the grab




                                 6
          Case 1:22-cv-00721-SDG Document 1 Filed 02/21/22 Page 7 of 9




                       bar to get on and off of the toilet because the toilet is not in the

                       proper position from the wall.

                   vi. Failing to provide proper signage for an accessible restroom or

                       failure to redirect a person with a disability to the closest available

                       accessible restroom facility in violation of sections 216, 216.2,

                       216.6, 216.8, 603, 703, 703.1, 703.2, 703.5 and 703.7.2.1 of the

                       Standards.

                   vii. Failing to provide proper knee clearance for a person with a

                       disability under a counter or sink element in violation of sections

                       306, 306.1 306.3, 606 and 606.2 of the Standards, which requires

                       Plaintiff to strain his back in order to use the sink.

       29.     These barriers cause Plaintiff difficulty in safely using each element of the

Facility because of Plaintiff’s impaired mobility and limited range of motion in his arms,

shoulders, legs, and hands requiring extra care due to concerns for safety and a fear of

aggravating his injuries.

       30.     Defendant has failed to remove some or all of the barriers and violations

at the Facility.

       31.     Defendant’s failure to remove these architectural barriers denies Plaintiff

full and equal access to the Facility in violation of 42 U.S.C. § 12182(b)(2)(A)(iv).

       32.     Defendant’s failure to modify its policies, practices, or procedures to train

its staff to identify architectural barriers and reasonably modify its services creates an




                                                7
            Case 1:22-cv-00721-SDG Document 1 Filed 02/21/22 Page 8 of 9




environment where individuals with disabilities are not provided goods and services in

the most integrated setting possible is discriminatory. 42 U.S.C. §§ 12182(a),

12182(b)(2)(A)(iv), and 28 C.F.R. § 36.302.

       33.     It would be readily achievable for Defendant to remove all of the barriers

at the Facility.

       34.     Failing to remove barriers to access where it is readily achievable is

discrimination     against   individuals   with       disabilities.   42   U.S.C.   §§   12182(a),

12182(b)(2)(A)(iv), and 28 C.F.R. § 36.304.

                                   RELIEF REQUESTED

WHEREFORE, Plaintiff respectfully requests that this Court:

       A.      declare that the Facility identified in this Complaint is in violation of the

ADA;

       B.      declare that the Facility identified in this Complaint is in violation of the

2010 ADA Standards for Accessible Design;

       C.      enter an Order requiring Defendant make the Facility accessible to and

usable by individuals with disabilities to the full extent required by Title III of the ADA

and the 2010 ADA Standards for Accessible Design;

       D.      enter an Order directing Defendant to evaluate and neutralize its policies,

practices, and procedures towards persons with disabilities;




                                                  8
           Case 1:22-cv-00721-SDG Document 1 Filed 02/21/22 Page 9 of 9




      E.      award Plaintiff attorney fees, costs (including, but not limited to court costs

and expert fees) and other expenses of this litigation pursuant to 42 U.S.C. § 12205;

and

      F.      grant any other such relief as the Court deems just and proper.



                                                 Respectfully Submitted,

                                                 /s/ Barry Debrow Jr.
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Dated: February 21, 2022




                                             9
